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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       IN ADMIRALTY


  PENINSULA PETROLEUM FAR EAST                            CASE NO. 1:22-CV-20230-DPG
  PTE. LTD.

     Plaintiff,
                                                          JUDGE DARRIN P. GAYLES
  VERSUS

  M/V CRYSTAL SYMPHONY, ET AL.

      Defendants,

                                                /



                   DEFENDANT CRYSTAL CRUISES, LLC’S ANSWER AND
                  AFFIRMATIVE DEFENSES TO THE VERIFIED COMPLAINT

           NOW INTO COURT, through undersigned counsel, comes Crystal Cruises, LLC

  (“Defendant”) to answer the Verified Complaint (“Complaint”) of Peninsula Petroleum Far East

  Pte. Ltd. (“Plaintiff”) as follows:

                                        ANSWER TO COMPLAINT

           1.      The allegations of Paragraph 1 of the Complaint assert legal conclusions and

  require no response by Defendant. To the extent an answer is required, Defendant admits that

  Plaintiff is attempting to assert an admiralty and maritime claim pursuant to 28 U.S.C. § 1333, 46

  U.S.C. § 31301, and Rule 9(h) of the Federal Rules of Civil Procedure.

           2.      Except to admit that Defendant is a California LLC with its principal place of

  business in Miami, all other allegations contained in Paragraph 2 of the Complaint are denied.

           3.      The allegations contained in Paragraph 3 of the Complaint require no response by

  Defendant. To the extent an answer is required, the allegations are denied.

           4.      The allegations contained in Paragraph 4 of the Complaint are denied.



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           5.     The allegations contained in Paragraph 5 of the Complaint are denied.

           6.     In response to the allegations contained in Paragraph 6 of the Complaint,

  Defendant admits only that, as written instruments, the documents referenced in Paragraph 6

  constitute the best evidence of their terms.

           7.     The allegations contained in Paragraph 7 of the Complaint require no response by

  Defendant. To the extent an answer is required, the allegations are denied.

           8.     Defendant is without sufficient knowledge or information to form a belief as to

  the truth of the allegations of Paragraph 8 of the Complaint, and therefore denies them.

           9.     In response to the allegations contained in Paragraph 9 of the Complaint,

  Defendant adopts its answers to Paragraphs 1 – 8 of the Complaint as if copied herein in extenso.

           10.    The allegations contained in Paragraph 10 of the Complaint are denied.

           11.    The allegations contained in Paragraph 11 of the Complaint are denied.

           12.    In response to the allegations contained in Paragraph 12 of the Complaint,

  Defendant adopts its answers to Paragraphs 1 – 11 of the Complaint as if copied herein in

  extenso.

           13.    The allegations contained in Paragraph 13 of the Complaint are denied.

           14.    The allegations contained in Paragraph 14 of the Complaint are denied.

           15.    Defendant denies all of the allegations contained in the “Prayer for Relief” and

  further denies that Plaintiff is entitled to any of the relief sought in the Complaint.



                                     AFFIRMATIVE DEFENSES

                                 FIRST AFFIRMATIVE DEFENSE

           The Complaint fails to state a claim against Defendant upon which relief can be granted,

  either in whole or in part.


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                                  SECOND AFFIRMATIVE DEFENSE

           Plaintiff has failed to join at least one indispensable party under Rule 19 of the Federal

  Rules of Civil Procedure, in whose absence the Court cannot accord complete relief among the

  existing parties and, therefore, the Complaint should be dismissed in the absence of the joinder

  of all indispensable parties.

                                   THIRD AFFIRMATIVE DEFENSE

           Plaintiff failed to take reasonable steps to mitigate its alleged damages.

                                  FOURTH AFFIRMATIVE DEFENSE

           Plaintiff does not have standing to assert the claims contained in the Complaint against

  Defendant, either in whole or in part, because Plaintiff has assigned its right to assert such claims

  to another entity.

                                   FIFTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims are barred by the doctrines of unjust enrichment and estoppel.

                                   SIXTH AFFIRMATIVE DEFENSE

           Plaintiff does not have a maritime lien upon the M/V CRYSTAL SYMPHONY under the

  Commercial Instruments and Maritime Lien Act, 46 U.S.C. §§ 31301-31343, or otherwise,

  whether under statute, common law, or general maritime law.

                                  SEVENTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims are barred by the provisions of Chapter 727 of the Florida Statutes in

  light of the Petition Commencing Assignment for the Benefit of Creditors filed by Defendant in

  the Circuit Court of the Eleventh Judicial Circuit in Miami-Dade County, Florida.




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                               EIGHTH AFFIRMATIVE DEFENSE

           Pursuant to Rule 44.1 of the Federal Rules of Civil Procedure, Defendant gives notice of

  and reserves its right to rely upon foreign law to the extent it may be applicable.

                                NINTH AFFIRMATIVE DEFENSE

           Defendant hereby gives notice that it intends to rely upon such other defenses that may

  become available or apparent during the course of discovery and thus reserves its right to amend

  this answer to assert any such additional defenses.



           WHEREFORE, Defendant Crystal Cruises, LLC respectfully prays that the above

  Answer and Affirmative Defenses be deemed good and sufficient and that, after due proceedings

  are had, there be judgment rendered in favor of Defendant, dismissing with prejudice all claims

  at Plaintiff’s cost. Moreover, Defendant prays for all such general, special, and equitable relief

  as the nature of this cause may permit.



                                               Respectfully submitted,

                                               PHELPS DUNBAR LLP

                                               /s/ Jason A. Pill
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on March 17, 2022, a copy of the foregoing pleading was filed with

  the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

  all participating counsel of record.


                                               /s/ Jason A. Pill




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